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OLSHAN FROME WOLOSKY LLP
1325 Avenue of the Americas
New York, NY 10019
          -and-
101 Hudson Street, Suite 2100
Jersey City, NJ 07302
Tel: (973) 331-7200
E-mail: sshaffer@olshanlaw.com
Attorneys for Defendants Total Body Nutrition,
LLC and We Do Private Label LLC

                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


 BRANDON COPELAND,
                                     Plaintiff,
                                                      Civ. No.: 3:19-cv-20278 (GC/RLS)
                        vs.

 POLIQUIN GROUP, a business entity, form
 unknown, POLIQUIN PERFORMANCE                             THE TBN DEFENDANTS’
 CENTER 2 LLC, CAROLEEN KANDEL                            ANSWER TO CROSSCLAIM
 A/K/A CAROLEEN KANEL A/K/A
 CAROLEEN JONES, an individual, JAD
 NUTRITION doing business as XTREME
 FORMULATIONS, a business entity, form
 unknown, TOTAL BODY NUTRITION LLC
 doing business as TBN LABS LLC, WE DO
 PRIVATE LABEL LLC, JOHN DOES 1-30,
 ABC CORPORATIONS 1-30 and XYZ
 PARTNERSHIPS 1-30, unidentified individuals,
 corporations and partnerships (fictitious
 designations),
                                      Defendant(s).



        As and for their answer to the crossclaim asserted by Caroleen Jones Kandel and Poliquin

Performance Center 2, LLC d/b/a Poliquin Group (collectively, “the Poliquin Defendants”),

Total Body Nutrition, LLC and We Do Private Label LLC (collectively, “the TBN Defendants”),

hereby respond as follows:




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                                       GENERAL DENIAL

        1.     The TBN Defendants hereby generally deny each and every allegation contained

in the Poliquin Defendants’ crossclaim and in any future crossclaims, as well as each cause of

action contained therein, each paragraph contained therein and each and every part thereof.

        2.     The TBN Defendants generally deny that the Poliquin Defendants are entitled to

any contribution from the TBN Defendants.

        3.     The TBN Defendants generally deny any act, omission, fault, conduct or liability

that would give rise to any claim for contribution.

        4.     The TBN Defendants deny the crossclaim under the New Jersey Tortfeasors

Contribution Act.

        5.     The TBN Defendants deny the crossclaim under the Comparative Negligence Act.

        6.     The TBN Defendants deny any liability to the Poliquin Defendants under the

doctrine of equitable contribution due to any act, omission, fault, conduct or liability on the part

of the TBN Defendants.

                                      AFFIRMATIVE DEFENSES

        1.     Without assuming any burden of proof or persuasion that rests with the Poliquin

Defendants, the TBN Defendants hereby repeat, reassert and incorporate by reference the

affirmative defenses the TBN Defendants asserted in their respective answers to the Third

Amended Complaint in this action.

        2.     The Court lacks subject matter jurisdiction over the crossclaim.

        3.     The crossclaim is barred, in whole or in part, by the Poliquin Defendants’ failure

to join necessary and/or indispensable parties.

        4.     The crossclaim fails to state a claim upon which relief can be granted.

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        5.     No acts or omissions by the TBN Defendants were the proximate cause of any

injury to the plaintiffs or the Poliquin Defendants.

        6.     The TBN Defendants acted with due care and diligence at all times.

        7.     The alleged injuries were caused solely by the acts or omissions of other parties,

persons or entities, their servants, agents, representatives or employees.

        8.     Any recovery or other award against the TBN Defendants must be reduced by the

percentage of fault of plaintiff and/or other party, and any recovery or other award against the

TBN Defendants must be limited to their own percentage of fault, if any.

        9.     The TBN Defendants join in the affirmative defenses asserted by the other

defendants and reserve the right to add further affirmative defenses.

       WHEREFORE, the TBN Defendants demand judgment dismissing the crossclaim and

granting such other and further relief as this Court deems proper, including attorneys’ fees, costs,

and disbursements.

 Dated: New York, New York
        October 13, 2022
                                                       OLSHAN FROME WOLOSKY LLP


                                                       By:           /s/ Scott Shaffer
                                                             Andrew B. Lustigman
                                                             Scott Shaffer
                                                             1325 Avenue of the Americas
                                                             New York, NY 10019
                                                                        -and-
                                                             101 Hudson Street, Suite 2100
                                                             Jersey City, NJ 07302
                                                             Tel: (973) 331-7200
                                                             E-mail: sshaffer@olshanlaw.com

                                                             Attorneys for Defendants Total
                                                             Body Nutrition, LLC and We Do
                                                             Private Label LLC



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